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UNITED STATES DISTRICT COURT
DISTRICT OF NEW JERSEY
-------------------------------------------------------- X
                                                         :
UNITED STATES OF AMERICA,
                                                         :
                  -against-                                Crim. No. 2:19-cr-877-CCC
                                                         :
MATTHEW BRENT GOETTSCHE,
RUSS MEDLIN,                                             :
JOBADIAH SINCLAIR WEEKS,
JOSEPH FRANK ABEL, and                                   :
SILVIU CATALIN BALACI
                                                         :
                           Defendants.
-------------------------------------------------------- X
             [Proposed] Order Granting Motion to Modify Conditions of Pretrial Release

       THIS MATTER having come before the Court on the motion of Defendant Matthew Brent

Goettsche, through the undersigned counsel, to modify conditions of pretrial release (Dkt. ___), the

Court having considered the consent of Pretrial Services and no objection from the government, through

AUSA Anthony Torntore, and having read and considered this motion, hereby adopts the following:

Mr. Goettsche is permitted to attend a birthday party and dinner at local venues for his daughter on

February 29, 2024 and a birthday party and dinner at local venues for his other daughter on March 4,

2024. The time and location of each birthday party and dinner shall be disclosed to and approved by

Pretrial Services not less than 72 hours in advance of the date of each event. He must always remain in

the presence of a third-party custodian at event.

       It is further ordered that the above conditions of release are in addition to, and not in place of, the

conditions previously set forth by this Court.

SO ORDERED.


____________________________
Hon. Michael A. Hammer
United States Magistrate Judge
